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                                        TPr COM PENSAJI9I| AGREEM ENT


            This Compensation Agreement (this "Agreement") dated Octoberil,2OlS is made by and

          between JPC Charities ("Payor") and TPI Communities I, LLC ('Payee'). For purposes of this

          Agreement, the term "Payor" shall be deemed to also include Aron, Chaikel and Lieb Puretz, PF

          Holdings, and any other entity owned or controlled wholly or in part by Aron, Chaiket or Lieb

          Puretz or PF Holdings. For purposes of this Agreement, the term "Payee" shall be deemed to

          also include Colony Hills Capital, LLC, David Kaufman and Glenn Hanson and any other entity

          owned or controlled wholly or in part by Kaufman, Hanson, TPI or Colony.


            ln recognition of Payee's status as Contract Vendee under that certain Agreement of

          Purchase and Sale dated April 14, 2014 (as amended) by and between the FARH Entities


          (collectively, "FARH") and Payee covering those properties listed on Schedule 1 attached to

          and made a part of this Agreement ("Schedule 1") and Payor's acknowledgement that such

          status deserves to be recognized by this Agreement, Payor agrees that if Payor succeeds to

          any or all of the ownership of the membership interests of FARH (the "Membership

          lnterests"), Payor shall pay Payee Two Million One Hundred Thousand Dollars

          ($2,100,000.00), or a pro rata share of Two Million One Hundred Thousand Dollars

          ($2,100,000.00) if Payor succeeds to less than all of the Membership lnterests calculated upon

          the values of the Properties ascribed to the ihdividual Properties on Schedule 1 (the "Pro Rata

          Share') , as such amount of Two Million One Hundred Thousand Doltars ($2r100,000.000), or

          the Pro Rata Share if applicable, may be reduced in accordance with the immediately

          succeeding sentence, simultaneously with the closing of the transfer of all or a portion of

          Membership lnterests to Payor (the'Closing") (the amount payable to Payee under this

          sentence, the "Payee's Fee'). The Payee's Fee shall be a condition of Closing with FARH.

          Payor shall cause the Payee's Fee to be set forth on the settlement statement, and Payor will

          request that FARH sign the settlement statement showing the Payee's Fee. Payor shall provide

          a copy of the settlement statement containing Payee's Fee to Payee, which Payor may redact to

          remove other figures. Payee shall notify Payor in writing of the scheduled date for Closing at

          least ten (10) days prior to the date of Closing and shall again notify the Payor in writing
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         immediately upon the occurrence of the Closing (as indicated by the transfer of funds for the

         benefit of FARH or its nominee).


           Payee acknowledges that Payee has.guaranteed that the total amount of the sum of the

         reserves (the "Reserves") listed on Schedule 2 attached to and made a part of this Agreement

         that will become the property of Payor in connection with the Closing shall be not less than One

         Million Five Hundred Thousand Dollars ($t,500,000.00), or the relevant proportionate share of

         Reserves for the Portfolio on the date of Closing applied to One Million Five Hundred Thousand

         Dollars ($1,500,000.00) in the event that some but not all of the Membership lnterests are

         transferred at Closing, and if and to the extent the total amount of the Reserves is less than One

         Million Five Hundred Dollars ($t,500,000.00) (or the relevant portion of Reserves if applicable),

         then Payee's Fee shall be reduced on a 'dollar for dollaf basis [e.9., regarding a Closing

         covering the Membership lnterests for the entire Portfolio, if the total amount of the Reserves

         which becomes the property of JPC at Closing is One Million Four Hundred Fifty Thousand

         Dollars ($1,450,000.00) then Payee's Fee shall be Two Million Fifty Thousand Dollars

         ($2,050,000.00)1.


           To secure Payor's obligation to pay Payee the Payee's Fee at Closing, immediately upon full

         execution of this Agreement, Aron, Chaikel and Lieb Puretz will deliver to Riverside Abstract

         Company ("Escrow Agent") an executed promissory note in favor of Payee (the "Note") in the

         form attached as Exhibit A. The Escrow Agent shall hold the Note until it receives notification in

         writing from either Payor or Payee that the Closing occurred subject to the terms of the

         immediately succeeding sentence. lf Payee has not received payment at the Closing, Payee

         shall instruct the Escrow Agent to deliver the Note to Payee or its legal counsel and, upon

         Payee providing Escrow Agent with commercially reasonable evidence in Escrow Agent's

         reasonable opinion that the Closing in fact occurred, Escrow Agent shall comply with the

         instructions. lf Payee does receive payment at the Closing, Payee shall immediately notify the

         Escrow Agent in writing that the Note has been satisfied and the Escrow Agent shall then accept

         instructions from Payor or PayoCs counsel with respect to the disposition of the Note. lf Payee

         fails to immediately notify Escrow Agent that the Note has been satisfied, Payor may notify the

         Escrow Agent in writing together with commercially reasonable evidence in Escrow Agent's
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         reasonable opinion that the Note has been satisfied and the Escrow Agent shall then accept

         instructions from Payor or Payo/s counsel with respect to the disposition of the Note that the

         Note has been satisfied and the EscrowAgent shallthen accept instructions from Payor or

         Payor's counselwith respect to the disposition of the Note. All instructions given to the Escrow

         Agent shall be copied simultaneously to the other party.

           lf Payor does not succeed to ownership of any of the Membership lnterests for any reason,

         including without limitation any default, willfulor othenrise, by any party (i.e., Payor or any other

         party), Payee waives any and all rights to be paid any amount under this Agreement. Payee

         waives its right to pursue payment from FARH with regard to all matters discussed in this a

         Agreement and agrees to pursue payment under this Agreement only ftom Payor and/or the

         obligors under the Note. FARH is a third party beneficiary of the terms of the immediately

         preceding sentence.




                             [No additional text on this page. Signature page follows.J
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             Payor and Payee have rnade this Compensation Agreement as of the date first above wrinen.




         JPG CHARITIES



         Name: Jdson Coolr


         PF HOLDINGS


         Name:
         Title:


         Aron Puretz


         Chaikel PureE


         Lieb Puretz


         TPI COMMUNITIES I, LLC
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               Payor and Payee have made this Compensation Agreement as of the date first above written.




         JPC CHARITIES


         By: .
         Name:
         Title:



         :;'""'4fu
         Name:
         Title:


         Aron Puretz


         Chaikel Puretz


         Lieb Puretz


         TPI COMMUNITIES I, LLC


         By:
         Name:
         Title:

         COLONY HILLS CAPITAL, LLC

         By:
         Name:
         Title:


         Glenn Hanson


         David Kaufman
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                Payor and Payee have made this Compensation Agreement as of the date first above written.




          JPC CHARITIES


          By:
          Name:
          Title:

          PF HOLDINGS

          By:
          Name:
          Title:


          Aron PureE




          Lieb


          TPI COMMUNITIES I, LLC


          By:
          Name:
          Tifle:

          COLONY HILLS CAPITAL, LLC

          By:
          Name:
          Title:


          Glenn Hanson


          David Kaufman
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                                   Schedule I -THE PROPERTIES


                      Property                         7o Allocation

                      Capital Place               ii            11.65%
                                               :i$#;
    'lri+i*
                     't6vington square                           9.120to
                      Estates at Crystal Bay                    20.3670
                      Fox Club                                  14.49Yo
                      Lakeside Pointe                           20.260/0
                      Woodhaven Park                            12.160/o
                      Woods at Oak Crossing                     11.9670
                      Total                                    100.0070
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                                                Schedule 2 - THE RESERVES            .,,-




                                               BALANCES AS OF JUNE 2A15

Bond/Loan      i:,,,i".   ,         :,.:qj::       lnsurance   ,,.Replacement                          MIP    i'   Repa
                                                                    Reserve
Capital Place, Covington Square, Woods          $111 ,279.21    $34,821.32      $(1 ,1 10.84)           $--
at Oak Crossinq (9379)
Fox Club, Lakeside (9250                        $194,738.17     $41 ,013.09       $(999.47)             $--
Woodhaven Park $30304122                         $46,702.81    $298,507.68         $868.00      $16,731 .69   $96,796.2
Estates at Crvstal Bav fi2981                   $117,122.84    $272,225.77               $-     $30,477.99
Total                                           $469,843.03    $646,567.86      $(,242.311      $47,209.68    $96,796.2:

Total Bonds Escrows                              $379,741.48
Total HUD Escrows                                $879,433.01
TOTAL                                          $1,259,174.49
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                                EXHIBIT A - FORM OF PROMISSORY NOTE

                                     PROMISSORY NOTE

     ''                   rr'                          Effective as of Octob        3l ,2OI5
                                                                               ",
             FOR VALUE RECEIVED, the undersigned Aron Puretz, an individual with an
     address atL223 East 13tt'Street, Brooklyn, NY l tz30,Chaikel Puretz, an individual
     with an address at L223 East 13tt'Street, Brooklyn, NY llz30,andLieb Puretz,atrd
     individual with an address at1223 East 13tt'Street, Brooklyn, NY 1L23O (the
     "Obligors"), promise to pay to the order of Colony Hills Capital, LLC, a Massachusetts
     limited liability company acting as agent for TPI Communities I, LLC (the "Obligee"),
     at its address of 2O4O Boston Road, Suite 20, Wilbraham, Massachusetts, or at such
     other place as the Obligee may from time to time designate in writing, the maximum
     principal sum of Two Million One Hundred Thousand Dollars and no cents
     ($2,100,000.00) (the "Compensation"). The amount of the Compensation may be
     reduced in accordance with the terms of the TPIC Compensation Agreement by and
     between JPC and TPI Communities I, LLC dated October 14,2OI5 and attached
     hereto as Exhibit A (the "Compensation Agreement").

             If tor any reason JPC Charities or its nominee fails to pay the Compensation to
     Obligee at the time of the closing of the transaction (the "Closing") between JPC on
     the one hand and FSR/Tennessee Affordable Housing Foundation, Foundation for
     Affordable Rental Housing, Inc. ("FARH"), FARH-Fox Lake Affordable Housing, Inc.
     ("FARH-FOX"), FARH-South Affordable Housing, Inc. ("FARH-SOUTH"), FARH-West
     Affordable Housing, Inc. ("FARH-WEST") and Gulf Coast Housing Assistance Corp.
     (collectively, the "Sellers") on the other, made and entered into as of July 3I,20I5,
     and/or upon the closing of any other transaction whereby JPC, Obligors or any other
     person or entity affiliated with JPC or Obligors succeed to ownership of the
     Membership Interests of some or all of the Sellers, Obligors shall immediately and
     with due diligence pay the full amount of the Compensation to Obligee. If JPC
     Charities or its nominee pays the Compensation to Obligee, this Promissory Note
     shall be returned to Obligors and shall be of no further force and effect. A necessary
     component of the meaning of term "Closing" is JPC, Obligors or any other person or
     entity atfiliated with JPC or Obligors succeeding to ownership of the Membership
     Interests of some or all of the Sellers.

           If Compensation is not paid to Obligee at the Closing, then Obligors will
     absolutely and without offset owe Obligee, pursuant to this Promissory Note, the
     Compensation amount, plus interest accruing on the unpaid amount of
     Compensation from the day following the Closing and continuing until the
     Promissory Note is paid in full (the "Interest Period") at seven percent (77o) per
     annum.
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             This Promissory Note shall be paid in a single lump sum payment of the
      Compensation. All payments hereunder shall be payable in lawful money of the
      United States which shall be legal tender for public and private debts at the time of
      payment. Payments shall be applied first to accrued but unpaid interest and then to
      principal.

               The Obligors will pay on demand all costs and expenses, including attorneys'
      t'ees, incurred or paid by the Obligee in enforcing or collecting any of the obligations
      of the Obligors hereunder.

              All notices required or permitted to be given hereunder shall be in writing
      and shall be ef'fective when mailed, postage prepaid, by registered or certified mail,
      or sent by a nationally recognized overnight mail service, or delivered by hand, to
      the address set forth herein tor Obligors or Obligee respectively, or to such other
      address as either the Obligors or the Obligee may trom time to time specify by like
      notice,

             All of the provisions of this Promissory Note shall be binding upon and inure
     to the benefit of the Obligors and the Obligee and their respective heirs, devisees,
     representatives, successors and assigns.

             All references herein to "Obligors" shall mean the Obligors hereunder or any
     of them. All of the obligations and liability of said Obligors hereunder shall be joint
     and several. Suit may be brought against said Obligors, jointly and severally, or
     against any one or more of them or less than all of them, without impairing the
     rights of Obligee against the others of said Obligors; and Obligee may compound
     with any one or more of said Obligors for such sums or sum as it may see fit and,/or
     release a portion of said Obligors fi:om all further liability to Obligee for any
     Compensation without impairing the right of Obligee to demand and collect the
     balance of such Compensation from the others of said Obligors not so compounded
     with or released; but it is agreed among said Obligors themselves, however, that
     such compounding and release shall in no way impair the rights of said Obligors as
     among themselves

             The liability of Obligors to pay the Compensation to Obligee shall be absolute
     and unconditional if JPC Charities or its nominee fails to pay the Compensation to
     Obligee at the Closing. The liability of Obligors shall not be modified, changed,
     released, limited or impaired in any manner whatsoever on account of any or all of
     the following: (a) the incapacity, death or disability of Obligors or any other person
     or entity; (b) the failure by Obligee to file or enforce a claim against the estate
     (either in administration, bankruptcy or other proceedirg) of Obligors or any other
     person or entity; (c) recovery from Obligors or any other person or entity becomes
     balred by any statute of limitations or is otherwise prevented; (d) any defenses, set-
     offs or counterclaims which may be available to Obligors or any other person or
     entity (other than the actual payment of the Adjusted Compensation); (e) any
     transfer or transfers of any of the property listed in the TPI Compensation
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      Agreement; (t) any impairment, moditication, change, release or fimitation of the
      liability of, or stay of actions or lien enforcement proceedings against, Obligors, their
      property, or their estates in bankruptcy resulting from the operation of any present
      or future provision of the Bankruptcy Code (as defined in the Instrument) or any
      other present or future federal or state insolvency, bankruptcy or similar law.

             No delay or omission on the part of the Obligee in exercising any right
      hereunder shall operate as a waiver of such right or of any other right of the Obligee,
      nor shall any delay, omission or waiver on any one occasion be deemed a bar to or
      waiver of the same or any other right on any future occasion.


             This Promissory Note shall be governed by and construed in accordance with
     the laws of the State of New York. This Promissory Note may only be moditied,
     waived, altered or amended by a written instrument or instruments executed by
     Obligee. Any alleged modification, waiver, alteration or amendment which is not so
     documented shall not be effective. A determination that any provision of this
     Promissory Note is unenforceable or invalid shall not affect the enforceability or
     validity of any other provision and any determination that the application of any
     provision of this Promissory Note to any person or circumstance is illegal or
     unentorceable shall not atfect the enforceability or validity of such provision as it
     may apply to any other persons or circumstances.

     EACH OF THE OBLIGORS AND THE OBLIGEE HEREBY KNOWINGLY,
     VOLUNTARILY AND INTENTIONALLY, AND AFTER AN OPPORTUNITY TO
     CONSULT WITH LEGAL COUNSEL, (A) WAIVE ANY AND ALL RIGHTS TO A TRIAL
     BY JURY IN ANY ACTION OR PROCEEDING IN CONNECTION WITH THIS NOTE,
     ANY OF THE OBLIGATIONS OF THE OBLIGORS, AND ALL MATTERS
     CONTEMPLATED HEREBY AND DOCUMENTS EXECUTED IN CONMCTION
     HEREWITH AND (B) AGREES NOT TO SEEK TO CONSOLIDATE ANY SUCH
     ACTION WITH ANY OTHER ACTION IN WHICH A JURY TRIAL CAN NOT BE" OR
     HAS NOT BEEN, WAWED. THE OBLIGORS CERTIFY THAT NEITHER THE
     OBLIGEE NOR ANY OF ITS REPRESENTATIVES, AGENTS OR COUNSEL HAS
     REPRESENTED, EXPRESSLY OR OTHERWISE, THAT THE OBLIGEE WOI]LD NOT
     SEEK TO ENFORCE THIS WATVER OF RIGHT TO TzuAL BY JURY IN THE EVENT
     OF ANY SUCH PROCEEDING.



                                [Signatures on following pages]
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           IN WITNESS WHEREOR the Obligors have executed and delivered this
     Promissory Note, under seal, on the day and year first above written.




                                           Name: Aron Puretz
                                           Address:




           IN WITNESS WHEREOF, the Obligors have executed and delivered this
     Promissory Note, under seal, on the day and year frst above written.


                                           OBLIGOR:




                                           Name: Chaikel Puretz
                                           Address:




     IN WIINESS WHEREOR the Obligors have executed and delivered this Promissory
     Note, under seal, on the day and year first above written.




                                           OBLIGOR:




                                           Name: Lieb Rrretz
                                           Address:




                                           t0
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                                EXHIBIT A . FORM OF PROMISSORY NOTE

                                      PROMISSORY NOTE

                                                        Effective as of October 23,zALs

             FOR VALUE RECEIVED, the undersigned Aron Puretz, an individual with an
      address atL223 East 13th Street, Brooklyn, NY 11230, Chaikel Puretz, an individual
      with an address at L223 East 13th Street, Brooklyn, NY LL23A, and tieb Puretz, and
      individual with an address at1223 East 13th Street, Brooklyn, NY LI230 [the
      "0bligors"J, promise to pay to the order of Colony Hills Capital, LLC, a Massachusetts
      limited liability company acting as agent for TPI Communities I, LLC [the "Obligee"),
      at its address of 2A4A Boston Road, Suite 20, Wilbraham, Massachusetts, or at such
      other place as the Obligee may from time to time designate in writing, the maximurn
      principal sum of Two Million One Hundred Thousand Dollars and no cents
      ($2,100,000.00) (the "Compensation"). The amount of the Compensation may be
      reduced in accordance with the terms of the TPIC Compensation Agreement by and
      between |PC and TPI Communities I, LLC dated October 14,2015 and attached
      hereto as Exhibit A fthe "Compensation Agreement"J.

              If for any reason |PC Charities or its nominee fails to pay the Compensation to
      Obligee at the time of the closing of the transaction [the "Closing"J between f PC on
      the one hand and FSR/Tennessee Affordable Housing Foundation, Foundation for
      Affordable Rental Housing, Inc. ["FARH"), FARH-Fox Lake Affordable Housing, Inc.
      ["FARH-FOX"J, FARH-South Affordable Housing Inc. ["FARH-SOUTH"), FARH-West
      Affordable Housing, Inc. ["FARH-WEST") and Gulf Coast Housing Assistance Corp.
      [collectively, the "Sellers") on the other, made and entered into as of Iuly 31,2015,
      and/or upon the closing of any other transaction whereby ]PC, Obligors or any other
      person or entity affiliated with f PC or Obligors succeed to ownership of the
      Membership Interests of some or all of the Sellers, Obligors shall immediately and
      with due diligence pay the full amount of the Compensation to Obligee. If IPC
      Charities or its nominee pays the Cornpensation to Obligee, this Promissory Note
      shall be returned to Obligors and shall be of no further force and effect. A necessary
      component of the meaning of term "Closing" is JPC, Obligors or any other person or
      entity affiliated with JPC or Obligors succeeding to ownership of the Membership
      Interests of some or all of the Sellers.

             If Compensation is not paid to Obligee at the Closing, then Obligors will
      absolutely and without offset owe Obligee, pursuant to this Promissory Note, the
      Compensation amount, plus interest accruing on the unpaid amount of
      Compensation from the day following the Closing and continuing until the
      Promissory Note is paid in full (the "lnterest Period") at seven percent (7o/o) per
      annum.
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             This Promissory Note shall be paid in a single lump sum payment of the
      Compensation. All payrnents hereunder shall be payable in lawful money of the
      United States which shall be legal tender for public and private debts at the time of
      payment. Payments shall be applied first to accrued but unpaid interest and then to
      principal.

              The Obligors will pay on demand all costs and expenses, including attorneys'
      fees, incurred or paid bythe Obligee in enforcing or collecting any of the obligations
      of the Obligors hereunder.

             All notices required or permitted to be given hereunder shall be in writing
      and shall be effective when mailed, postage prepaid, by registered or certified mail,
      or sent by a nationally recognized overnight mail service, or delivered by hand, to
      the address set forth herein for Obligors or Obligee respectively, or to such other
      address as either the Obligors or the Obligee may from time to time speciSr by like
      notice.

              All of the provisions of this Promissory Note shall be binding upon and inure
      to the benefit of the Obligors and the Obligee and their respective heirs, devisees,
      representatives, successors and assigns.

              All references herein to "Obligors" shall mean the Obligors hereunder or any
      of them. All of the obligations and liability of said Obligors hereunder shall be joint
      and several. Suit may be brought against said Obligors, iointly and severally, or
      against any one or more of them or less than all of them, without impairing the
      rights of Obligee against the others of said 0bligors; and Obligee may compound
      with any one or more of said Obligors for such sums or sum as it may see fit and/or
      release a portion of said Obligors from all further liability to Obligee for any
      Compensation without impairing the right of Obligee to demand and collect the
      balance of such Compensation from the others of said Obligors not so compounded
      with or released; but it is agreed among said Obligors themselves, however, that
      such compounding and release shall in no way impair the rights of said Obligors as
      among themselves

              The liability of Obligors to pay the Compensation to Obligee shall be absolute
      and unconditional if f PC Charities or its nominee fails to pay the Compensation to
      Obligee at the Closing. The liability of Obligors shall not be modified, changed,
      released, Iimited or impaired in any manner whatsoever on account of any or all of
      the following: (aJ the incapacity, death or disability of Obligors or any other person
      or entity; (b) the failure by Obligee to file or enforce a claim against the estate
      feither in administration, bankruptcy or other proceedingJ of Obligors or any other
      person or entity; [c) recovery from Obligors or any other person or entity becomes
      barred by any statute of limitations or is otherwise prevented; [dJ any defenses, set-
      offs or counterclaims which may be available to Obligors or any other person or
      entity [other than the actual payment of the Adjusted Compensation); [e) any
      transfer or transfers of any of the property listed in the TPI Compensation
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      Agreemen! [fJ any impairment, modification, change, release or limitation of the
      liability of, or stay of actions or lien enforcement proceedings againsf Obligors, their
      property, or their estates in bankruptcy resulting from the operation of any present
      or future provision of the Bankruptcy Code (as defined in the InstrumentJ or any
      other present or future federal or state insolvency, bankruptcy or similar law.

             No delay or omission on the part of the Obligee in exercising any right
      hereunder shall operate as a waiver of such right or of any other right of the Obligee,
      nor shall any delay, omission or waiver on any one occasion be deemed a bar to or
      waiver of the same or any other right on any future occasion.


              This Promissory Note shall be governed by and construed in accordance with
      the laws of the State of New York. This Promissory Note may only be modified,
      waived, altered or amended by a written instrument or instruments executed by
      Obligee. Any alleged modification, waiver, alteration or amendment which is not so
      documented shall not be effective. A determination that any provision of this
      Promissory Note is unenforceable or invalid shall not affect the enforceability or
      validity of any other provision and any determination that the application of any
      provision of this Promissory Note to any person or circumstance is illegal or
      unenforceable shall not affect the enforceability or validity of such provision as it
      may apply to any other persons or circumstances.

      EACH OF THE OBLIGORS AND THE OBLIGEE HEREBY KNOWINGLY,
      VOLUNTARILY AND INTENTIONALLY, AND AFTER AN OPPORTUNITY TO
      coNsutT WITH LEGAT COUNSEL, (A) WAIVE ANY AND ALL RIGHTS TO A TRIAr
      BY IURY rN ANY ACTTON OR PROCEEDING IN CONNECTION WITH THrS NOTE,
      ANY OF THE OBLIGATIONS OF THE OBLIGORS, AND AtL MATTERS
      CONTEMPLATED HEREBY AND DOCUMENTS EXECUTED IN CONNECTION
      HEREWTTH AND (B) AGREES NOT TO SEEK TO CONSOLTDATE ANy SUCH
      ACTION WITH ANY OTHER ACTION IN WHICH A IURY TRIAL CAN NOT BE, OR
      HAS NOT BEEN, WAIVED. THE OBLIGORS CERTIFY THAT NEITHER THE
      OBLIGEE NOR ANY OF ITS REPRESENTATIVES, AGENTS OR COUNSET HAS
      REPRESENTED, EXPRESSTY OR OTHERWISE, THAT THE OBTIGEE WOUTD NOT
      SEEK TO ENFORCE THIS WAIVER OF RIGHT TO TRIAL BY IURY IN THE EVENT
      OF ANY SUCH PROCEEDING.



                                [Signatures on following pages]
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                                                  OBLIGOR:




                                                  Name: Lieb Puretz
                                                  Addressz 7     ?
                                                             (/z 7
                                                             (/Z       9;r
                                                             /t*a;
             5TATE or *J€
                              t"l Yo L/<
          hdr/ KdA,,
             on this?2 day of 0 eF^                ,20L5, before me, the undersigned notary
      public, personally appeared Lieb Puretz, proved to me through satisfactory
      evidence of identification, which was                                  , to be the person
      whose name is signed on the preceding document, and acknowledged to me that he
      signed it voluntarily for its stated purpose and is the free act and deed.




                                                 11
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            IN WITNESS WHEREOF, the Obligors have executed and delivered this
      Promissory Note, under seal, on the day and year first above written.

                                                  OBLIGOR:




                                                  Name: Aron Puretz
                                                  Address:


             STATE OF

                              ss.


             On this    day of            ,20L5, before me, the undersigned notary
      public, personally
                     -   appeared Aron Puretz, proved to me through satisfactory
      evidence of identification, which was                                  , to be the person
      whose name is signed on the preceding document, and acknowledged to me that he
      signed it voluntarily for its stated purpose and is the free act and deed.




                                                  OBLIGOR:




                                                  Name: Chaikel Puretz
                                                  Address:




             STATE OF

                               ss.


             0n this      day of                   ,20L5, before me, the undersigned notary
                     - appeared Chaikel Puretz, proved to me through satisfactory
      public, personally
      evidence of identification, which was                                  , to be the person
      whose name is signed on the preceding document, and acknowledged to me that he
      signed it voluntarily for its stated purpose and is the free act and deed.
